                     Case 2:12-cr-00206-WKW-CSC Document 135 Filed 07/14/14 Page 1 of 6

AO 24511        (Rev O91 I) .Iudginent in a Criminal Case
                ShcsL



                                               UNITED STATES DisTRicT COURT
                                                            MIDDLE DISTRICT OF ALABAMA

                UNITED STATES OF AMERICA                                                JUDGMENT IN A CRIMINAL CASE
                                      V.

                CHARLES RICHARD SISTRUNK                                                Case Number: 2:1 2cr206-02-WKW

                                                                                        lJSM Number: 14180-002

                                                                                         Susan Graham James
                                                                                        Defendaiii 'a A (finley
THE DEFENDANT:
N(pleaded guilt y tO count(s)               1 of the Indictment on 02/06/2014
E pleaded nolo uoriteadere to count(s)
   which was accepted by the court.
E was found guilty on count(s)
  alter it plea of not guilty

The defendant is adjudicated guilty of these ottenses:

Title & Section                       Nature of Offense                                                                    Oflens, Ended           Coo iii

 21:846                                Conspiracy to Distribute Controlled Substance                                        09/22012                1




P S CC ctdd 1 in nut count(s) on pi tie 2

      The defendant is sentenced as provided in pages 2 through 6 of this 3udgmciit. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.
El The defendant has been lonid not guilty on count(s)

jcouni(s) 2                                                     is    E are dismissed on the motion ol the United tales.

         It is ordered that the defendant trust no(ifv the UiiitedStates attorney for this district within 30 days f any change of name, residence,
or mailing address until all tines, restitution, costs, and special assessments imposed by this judgment are Lull, paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic cireumstanct s.

                                                                            7/08/2014
                                                                             I )a(s uJ lit 0111 1011 01 .tLh_L5111,_'I 1




                                                                            ,*                          we


                                                                            Signaturt' ot' Judge


                                                                            W. KEITH WATKINS, CHIEF U.S. [:'ISTRICT JUDGE
                                                                             Name oi i Lidge                                       Title ii udge




                                                                             Die
                    Case 2:12-cr-00206-WKW-CSC Document 135 Filed 07/14/14 Page 2 of 6

AO 245B         (Re 09/ I) Judgment i a Cii mi nal Case
vi              Sheet 2— 1niprisoiiiiiiu

                                                                                                                    Judgment Page. 2 of 6
     DEFENDANT: CHARLES RICHARD SISTRUNK
     CASE NUMBER: 2:12cr206-02-WKW


                                                                   IMPRISONMENT

              Thc defendant is hereby commuted to the custody of the United Slates Bureau of Prisons to he imprisoned for a
     total term o:
      156 Months




         Wf The court makes the Ibliowing recommendations 10 the Bureau oI'Prisons:

         The Court recommends that defendant be designated to a facility where medical treatment, inli:nsive residential drug
         treatment, and mental health evaluation and treatment are available. The Court recommends that defendant be
         designated to a facility as close as possible to Montgomery, Alabama.

             The defendant is remanded to the custody of the United States Marshal.

         El The defendant shall surrender to the United States Marshal for this district:
             E at                                            am.        E p.m.        on

                  as notified by the united States Marshal.

         E The defendant shall surrender for service ot sentence at the institution de.signalcd by the Bureau ut risons:

             El before                     Oil                      -

                  as notified by the United Stales Marshal.

             El as nub fled by the Probation or Pretrial Services Office.


                                                                          RETURN
     I have executed this judgment as follows:




             Defendant deliercd on                                                          to

     a       - _______ ______                    _____- , with a certified copy oiihisiudgmenl.



                                                                                                     UNITED STA ES MARSHAL.. -


                                                                                 By
                                                                                                  DEPUTY UNITED TATES MARSHAL
                         Case 2:12-cr-00206-WKW-CSC Document 135 Filed 07/14/14 Page 3 of 6

AO 25B               (Rev 09/11) Judgment ir a Cnminai Case
V1                   Sheet 3   Supervised Release


 DEFENDANT: CHARLES RICHARD SISTRUNK                                                                                          Judgment Page: 3 of 6
 CASE NUMBER: 2:1 2cr206-0021 41 80-002-WKW
                                                              SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of
     7 Years

          The defendant must report to the probation office in the district to which the defendant is released ithin 72 hours of release from the
 custody of the Bureau of Prisons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall submit to one drug test within 15 da y s of release from imprisonment and at least two periodic drug tests
 thereafter, as determined by the court,
     E        The above drug testing condition is suspended, based on the court's determination that the defendant r )ses a low risk of
              future substance abuse. (Check, [ctpp/icubie.)

              The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weupon. Check, fopp1icthie)
              The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, f[aIphcob/e.}

              [he defendant shall comply ith the requirements of- the Sex Offender Registration and Notification A t (42 U.S.C. § 16901, el seq.)
     E        as directed by the probation officer, the Bureau of Prisons, or any, state sex offender registration agenc in which he or she resides,
              works, is a student, or was convicted of a qualify ing offense. Check, i[a1phcable)

     E The defendant shall participate in an approved program for domestic violence. (Check, /appIicabfe)
             If this ,judgment imposes a fine or restitution, it is a condition of supervised release that the defendunt pay in accordance with the
     Schedule of Payments sheet of this judgment.
           The defendant must comply with the standard conditions that hae been adopted by this court as e I as with any additional conditions
 on the attached page.

                                               STANDARD CONDITIONS OF SUPERVISION
         1)    the defendant shall not leave thejudicial district without the permission of'the court or probation officer;
         2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or robation olicer;
       3)       the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
       4)      the defendant shall support his or her dependents and meet other family responsibilities;
         5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer fo schooling, training, or other
               acceptable reasons;
       6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
       7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribi.tte, or administer any
               controlled substance or any paraphernalia related to any controlled substances. except as prescribed Ely a physician:
       5)      the defendant shall not frequent places where controlled substances are illegally sold, used. distribute 1. or administered:
         9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted ofa
               lelony, unless granted permission to do so by the probation officer;
      10)      the defendant shall permit a probation officer to visit himor her at any time at home or elsewhere and :;hall permit confiscation of' any
               contraband observed in plain view of the probation officer;
      11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questior A by a law enforeen'nt officer;
     12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enfi:recmnt agency without the
               permission of the court; and

     13)       as directed by the probation officer, the defendant shall notif' third parties of risks that may he occasioned by the defendant's criminal
               record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
               defendant s compliance with such notification requirement.
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AO 24511       (Rev. 09fl I) Judgment to a Criminal Case

vi             Siiect 3C - Superi.eJ Release

                                                                                                             Judgment Page: 4 of 6
 DEFENDANT: CHARLES RICHARD SISTRUNK
 CASE NUMBER: 2:12cr206-00214180-002-WKW

                                             SPECIAL CONDITIONS OF SUPERVISION
     Defendant shall participate in a program of drug testing administered by the probation office for ;ubstance abuse, which
     may include testing to determine whether he has reverted to the use of drugs. Defendant shall contribute to the cost of
     any treatment based on ability to pay and the availability of third-party payments.

     Defendant shall participate in a mental health treatment program approved by the United Stales Probation Office and
     contribute to the cost based on ability to pay and availability of third party payments.

     Defendant shall submit to a search of his person, residence, office or vehicle pursuant to the se:irch policy of this court.
                      Case 2:12-cr-00206-WKW-CSC Document 135 Filed 07/14/14 Page 5 of 6

AO 245B          (Rev. 0 9 11 1) JiLilignient in a Criminal Case
vi               Sheet S - Criminal Monetary Penalties

                                                                                                                                  Judgment Page: 5 of 6
     DEFENDANT: CHARLES RICHARD SISTRUNK
     CASE NUMBER: 2:12cr206-0021 41 80-002-WKW
                                                          CRIMINAL MONETARY PENALTIES
         The defendant must pay the total criminal monetary penalties under the schedule of payments on Slice: 6.

                          Assessment                                                Fine                               Restitution
 TOTALS                 $ 100.00                                                 $ 25,000.00                         S $0.0t


     El The determination of restitulion is deferred until -                          An Amended Judgment in a Crimina Case i,10 245Q will be entered
        after such determination.

     E The defendant must make restitution (including communh y restitution) to the following payees in the ornount listed below.

         lithe defendant makes a partial payment, each payee shall receive an approximatelyproportioned payment, unless specified otherwise in
                                            e nt column below. However, pursuant to 18 lf.S.C. § 3664(1), al nonfederal victims must be paid
         the priority order or percentage paym
         before the United States is paid.

 Name of Payee                                                                Total Loss*              Restitution Ordered Priority or Pereentae




 TOTALS                                                                                        $0.00                     $o.':o


 L       Restitution amount ordered pursuant to plea agreement $

 E The defendant must pay interest on restitution and a fine of more than $2,500. unless the restitution or Inc is paid in Oil1 beOire the
      fifteenth day after the date of the udment. pursuant to 18 U.S.C. § 3612(f). All of the payment option: oil Sheet 6 may he subject
      to penalties for delinquency and default, pursuant to IS U.S.C. § 3612(g).

         The court determined that the defendant does not have the ability to pay interest and it is ordered that:

              the interest requirement is waived for the                W fine     El restitution.

         E the interest requirement for the                   fl fine    El restitution is modified as follows:



 * Findings for the total anDunt of losses are required under Chaiters 109A, 110, 110A. and I.                    of Title 18 f ioffcnses committed on or after
 September 13, 1994, but before April 23, 1996.
                  Case 2:12-cr-00206-WKW-CSC Document 135 Filed 07/14/14 Page 6 of 6

AO 245B       (Rev. 09111) Judgment in a Criminal Case
V1            Sheet C - Schedule of Payments

                                                                                                                        Judgment Page 6 of 6
 DEFENDANT: CHARLES RICHARD SISTRUNK
 CASE NUMBER: 2:1 2cr206-0021 41 80-002-WKW

                                                         SCHEDULE OF PAYMENTS

 1-hiving assessed the del'endant's abilit y Lo pa y . payment of the inial criminal monetary penalties is due as ftllows:

 A         Lump sum payment o11 25,100.00                      due immediately, balance due

                  not later than                                  or
                                                                  I




                  in accordance           E C,            D,   fl E, or fl F below; Or

 B n Payment to begin immediately (may he combined with                   0 C.            D, or     fl F below): o
 C    n Payment in equal                    (.g., weekly, monthly, quarterly) installments of $                             over a period of
            -     (e.g., months or-years), to commence                     - (e.g., 30 or 60 days) after the datc of this judgmcnt; or

 D         Payment in equal                        (e.g.. weekl y, nronthb', quarterly installments of $                        over a period of
                         (e.g., months or years), to commence                     -- (e.g 30 or 60 days) after release rorn imprisonment to a
           term of supervision; or

 E    D Payment during the term of supervised release will commence within                  (e.g., 30 or (o) days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant's ab ii) to pay at that time or

 F          Special instructions regarding the payment of criminal monetary penalties:
            All criminal monetary payments are to be made to the Clerk, United States District Court, Middlo District of Alabama, Post
            Office Box 711, Montgomery, Alabama 36101.




 Unless the court has expressly ordered otherwise, if thisjudgment imposes imprisonment, payment ofcrinin l monetar y penalties is due during
 imprisonment. All crimnal monetary penalties, except those payments made through the Federal Bureau ol'Prisons Inmate Financial
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary pcnaltie imposed.




 E Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount. Jo nt and Several AniounL
      and corresponding payee, if appropriate.




 E The defendant shall pay the cost of prosecution.

 E The defendant shall pay the IbLlowing court cost(s):

      The defendant shall forfeit the defendant's interest in the following property to the United States:
      $160,701.00 in U.S. currency seized on September 25, 2012


Payments shall be applied in Ihe fotlowing order: (1) assessmem, (2) restitution principal. (3) restitution interest. (4) fine principal,
(5) fine interest, (6) community restitulion, (7) penalties, and (8) costs. including cost of prosecution and cou 1 costs.
